Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 1 of 21 Page ID #:385




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            JR.
       7
       8
       9                           UNITED STATES DISTRICT COURT
      10                          CENTRAL DISTRICT OF CALIFORNIA
      11
            Rafael Arroyo, Jr.,
      12                                          Case: 2:18-CV-06338-PSG-GJS
                     Plaintiff,
      13                                          Memorandum of Points and
              v.                                  Authorities in Support of
      14                                          Motion for An Award of
            A & G Interprises, LLC, a             Attorney’s Fees
      15    California Limited Liability
            Company;
      16    Carmen Rosas; and Does 1-10,
                                                   Date:   October 28, 2019
      17                                           Time:   10:30 a.m.
                     Defendants.                   Ctrm:   6A
      18
      19                                          Hon Judge Philip S Gutierrez

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           PNAs for Fee Motion                                          2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 2 of 21 Page ID #:386




       1
       2                                   TABLE OF CONTENTS
       3     I. PRELIMINARY STATEMENT ..........................................................1
       4
             II. REASONABLENESS OF FEES ..........................................................1
       5
                A.     Hourly Rates .................................................................................2
       6
       7        B.     Hours Reasonably Expended ................................................... 10

       8     III.    HENSLEY FACTORS ................................................................... 12
       9        A.     Time and Labor Required ......................................................... 12
      10
                B.     Novelty and Difficulty of Issues ............................................... 12
      11
                C.     Skill Required to Perform Legal Service................................... 13
      12
      13        D.     Preclusion of Other Work ......................................................... 14
      14        E.     Customary Fee .......................................................................... 14
      15
                F.     Fixed or Contingent Fee ........................................................... 14
      16
                G.     Time Limitations ....................................................................... 15
      17
      18        H.     Amount Involved and Results Obtained .................................. 15

      19        I. Experience and Ability of Attorneys ............................................ 15
      20        J. Undesirability of the Case ............................................................ 15
      21
                K.     Nature and Length of Professional Relationship with Client . 15
      22
      23
                L.     Awards in Similar Cases............................................................ 15

      24     IV.     LITIGATION COSTS ................................................................... 16
      25     V. CONCLUSION ................................................................................ 17
      26
      27
      28



                                                              i
           PNAs for Fee Motion                                                                         2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 3 of 21 Page ID #:387




       1                                 TABLE OF AUTHORITIES
       2
           Cases
       3
           Blackwell v. Foley,
       4
             724 F. Supp. 2d 1068 (N.D. Cal. 2010) ............................................. 2, 7
       5
           Boemio v. Love's Restaurant,
       6
             954 F.Supp. 204 (S.D. Cal. 1997) ......................................................... 12
       7
           City of Sacramento v. Drew,
       8
             207 Cal. App. 3d 1287 (1989) .................................................................2
       9
           Copeland v. Marshall,
      10
             641 F.2d 880 (1980) ................................................................................8
      11
           Hansen v. Deercreek Plaza, LLC,
      12
             420 F.Supp.2d 1346 (S.D.Fla 2006) .................................................. 6, 7
      13
           Hensley v. Eckerhart,
      14
             461 U.S. 424 (1983) ....................................................................... passim
      15
           Jankey v. Poop Deck,
      16
             537 F.3d 1122 (9th Cir. 2008) ................................................................2
      17
           Koire v. Metro Car Wash,
      18
             40 Cal.3d 24 (1985) .............................................................................. 12
      19
           Lindy Bros. Builders, Inc. of Phila. v. American Radiator,
      20
             487 F.2d 161 (3rd Cir 1973) ...................................................................8
      21
           Lovell v. Chandler
      22
             (9th Cir. 2002) 303 F.3d 1039 ............................................................. 14
      23
           Margolin v. Regional Planning Comm’n,
      24
             134 Cal.App.3d 999 (1982).....................................................................5
      25
           PLCM Group, Inc. v. Drexler,
      26
             22 Cal.4th 1084 (2000) ...........................................................................3
      27
           San Bernardino Valley Audubon Society, Inc. v. County of San Bernardino,
      28
             155 Cal.App.3d 738 (1984).....................................................................2


                                                             ii
           PNAs for Fee Motion                                                                      2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 4 of 21 Page ID #:388




       1   Serrano v. Priest,
       2      20 Cal.3d 25 (1977) .................................................................................8
       3   United Steelworkers of Am. v. Phelps Dodge Corp.,
       4      896 F.2d 403 (9th Cir. 1990) ..................................................................5
       5   Van Gerwen v. Guarantee Mutual Life,
       6      214 F.3d 1041 (9th Cir. 2000) ................................................................9
       7   Wehr v. Burroughs Corp.,
       8      477 F.Supp. 1012 (E.D.Pa. 1979) ...........................................................2
       9   Welch v. Metropolitan Life Ins. Co.,
      10      480 F.3d 942 (9th Cir. 2007) ..................................................................3
      11   Woodland Hills Residents Ass'n., Inc. v. City Council,
      12      23 Cal.3d 917 (1979) ...............................................................................2
      13
      14
           Statutes
      15
           42 U.S.C. § 12205 ................................................................................. 1, 13
      16
           Cal. Civ. § 52(a) ..................................................................................... 1, 12
      17
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                                                                iii
           PNAs for Fee Motion                                                                           2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 5 of 21 Page ID #:389




       1                         I. PRELIMINARY STATEMENT
       2          Mr. Rafael Arroyo, Jr. is a person with physical disabilities. He
       3   suffers from severe arthritis in his knees and back. He is a paraplegic who
       4   cannot walk and who uses a wheelchair for mobility. He sued the
       5   defendants A & G Interprises, LLC and Carmen Rosas as owners and
       6   operators of Gardena Main Plaza Liquor Located at 16502 S. Main Street,
       7   Gardena, California for failure to provide accessible parking although the
       8   law has required it for 26 years.
       9          During the course of the case, Mr. Arroyo prevailed on a motion for
      10   summary judgment and this Court issued a judgment, granting Mr.
      11   Arroyo remedial relief. Having prevailed, Plaintiff now moves the Court
      12   for an award of attorney’s fees and costs.
      13
      14                     II. REASONABLENESS OF FEES
      15          Under the American with Disabilities Act, attorney's fees are
      16   available to a prevailing party. 42 U.S.C. § 12205. Additionally, under the
      17   Unruh Civil Rights Act, a defendant "is liable for" any attorney fees"
      18   suffered by any person denied the rights" provided for under Unruh. Cal.
      19   Civ. § 52(a). Successful litigants are entitled to reasonable attorney fees
      20   “to ensure effective access to the judicial process for persons with civil
      21   rights grievances.” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983). “If
      22   successful plaintiffs were routinely forced to bear their own attorneys'
      23   fees, few aggrieved parties would be in a position to advance the public
      24   interest by invoking the injunctive powers of the federal courts.
      25   Consequently, recovery is the rule rather than the exception.” Jankey v.
      26   Poop Deck, 537 F.3d 1122, 1131 (9th Cir. 2008) (internal citations
      27   omitted).
      28



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           PNAs for Fee Motion                                             2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 6 of 21 Page ID #:390




       1           This is a civil right entitlement, not a windfall. “It must be
       2   remembered that an award of attorneys' fees is not a gift. It is just
       3   compensation for expenses actually incurred in vindicating a public
       4   right.” City of Sacramento v. Drew, 207 Cal. App. 3d 1287, 1304 (1989).
       5           The “fundamental objective” of attorney fee statutes is “to
       6   encourage suits effectuating a strong policy by awarding substantial
       7   attorney's fees ... to those who successfully bring such suits . . ..”
       8   Woodland Hills Residents Ass'n., Inc. v. City Council, 23 Cal.3d 917, 933
       9   (1979) (emphasis added). To accomplish this, the award must be large
      10   enough “to entice competent counsel to undertake difficult public
      11   interest cases.” San Bernardino Valley Audubon Society, Inc. v. County of
      12   San Bernardino, 155 Cal.App.3d 738, 755 (1984). Thus, there is a
      13   “requirement of an award of substantial attorney fees” in these disability
      14   access civil rights cases. Blackwell v. Foley, 724 F. Supp. 2d 1068, 1076
      15   (N.D. Cal. 2010) (a disability access case involving both the ADA and
      16   Unruh Civil Rights Act).
      17           The documentation submitted in support of a request for attorney
      18   fees should be sufficient to satisfy the court, or indeed a client, that the
      19   hours expended were actual, non-duplicative and reasonable and to
      20   appraise the court of the nature of the activity and the claim on which the
      21   hours were spent. See Hensley, 461 U.S. at 437; Wehr v. Burroughs Corp.,
      22   477 F.Supp. 1012, 1016–18 (E.D.Pa. 1979), modified on other grounds at
      23   Wehr v. Burroughs Corp., 619 F.2d 276 (3rd Cir. 1980). The billing
      24   statements attached as exhibit 2 meet this standard.
      25
              A.       Hourly Rates
      26
                   A reasonable hourly rate reflects the skill and experience of the
      27
           lawyer, including any relevant areas of particular expertise, and the
      28



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           PNAs for Fee Motion                                              2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 7 of 21 Page ID #:391




       1   nature of the work performed. See Hensley, 461 U.S. at 433-34. The
       2   reasonable market value of the attorney’s services is the measure of a
       3   reasonable hourly rate. PLCM Group, Inc. v. Drexler, 22 Cal.4th 1084,
       4   1094 (2000). This standard applies regardless of whether the attorneys
       5   claiming fees charge nothing for their services, charge at below-market or
       6   discounted rates, represented the client on a straight contingent fee basis,
       7   or are in house counsel. Id.; see also Welch v. Metropolitan Life Ins. Co., 480
       8   F.3d 942, 946 (9th Cir. 2007).
       9          Mark Potter founded the Center for Disability Access and has
      10   devoted more than 95% of his practice to disability issues for more than
      11   20 years. He was a former officer of the California’s for Disability Rights,
      12   Chapter Number One—the oldest and most prestigious disability civil
      13   rights advocacy organization in California, as well as a board member of
      14   the prestigious Southern California Rehabilitation Services. He has given
      15   ADA seminars throughout the state of California and published in
      16   numerous disabled rights periodicals. He has litigated over 2,000
      17   disability cases. His expertise and experience with ADA cases is almost
      18   unparalleled in California. He has also been interviewed on CNN as an
      19   ADA legal expert. He is qualified to bill at $595 per hour.
      20          Attorney Russell Handy is qualified to bill at $595 per hour. He
      21   graduated Magna Cum Laude from California Western, has taught as an
      22   adjunct professor, has clerked for the Ninth Circuit Court of Appeals, and
      23
           has devoted his private practice to disability litigation for the last 19
      24
           years. He has prosecuted over a thousand ADA cases, has prosecuted
      25
           over 40 ADA trials and appeared at either state or federal appellate court
      26
           forums on ADA cases over 30 times. He has argued disability cases
      27
           before the California Supreme Court and was awarded the California
      28



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           PNAs for Fee Motion                                                 2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 8 of 21 Page ID #:392




       1   Magazine’s Attorney of the Year (CLAY) award for 2010 for his disability
       2   work that resulted in a significant ruling for disability litigants under the
       3   Unruh Civil Rights Act. (See Munson v. Del Taco, Inc. (2009) 46 Cal.4th
       4
           66). He has appeared on ABC’s show 20/20 as an expert in ADA
       5
           litigation. In 2011, the San Diego Daily Transcript named him one of San
       6
           Diego’s “Top Attorneys 2011.”
       7
                  Attorney Ray Ballister has been in practice for 29 years. He has
       8
           prosecuted over a thousand disability access cases and has tremendous
       9
           trial experience. He has taken and defendant hundreds and hundreds of
      10
      11
           depositions, attended thousands of hearings, has an extensive trial

      12   record. For more than a decade, Mr. Ballister has focused exclusively on

      13   disability access cases. He is qualified to bill at $550 per hour.
      14          Phyl Grace is qualified to bill at $550 per hour. She has been
      15   practicing for more than 22 years. Over the last decade, she has focused
      16   exclusively on disability access litigation. She has handled trials, taken
      17   depositions, drafted motions, and otherwise litigated hundreds and
      18   hundreds of civil rights cases.
      19
                  Supervising Attorney Dennis Price is qualified to bill at $450 per
      20
           hour. Mr. Price graduated from Loyola Law School in Los Angeles in
      21
           2011 where he served on the Moot Court Honors Board representing the
      22
           school in appellate competitions. During school and immediately after,
      23
           Mr. Price clerked for the California Court of Appeal and then worked as a
      24
           staff attorney at Bet Tzedek Legal Services, a large non-profit public
      25
      26
           interest firm working on behalf of disadvantaged communities, prior to

      27   joining Potter Handy in 2012. Mr. Price has been involved in hundreds of

      28   disability rights cases, participating in all stages of litigation from intake



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           PNAs for Fee Motion                                                  2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 9 of 21 Page ID #:393




       1   to trial. Mr. Price works as a supervising and training attorney and is
       2   heavily involved in the firm’s appellate practice, having obtained multiple
       3   favorable opinions in both the California Court of Appeal and the Ninth
       4
           Circuit.
       5
                  Attorney Chris Carson is qualified to bill at $450 per hour. Ms.
       6
           Carson has been prosecuting disability access cases for over five years in
       7
           both state and federal court. She has conducted discovery, drafted and
       8
           opposed Motions for Summary Judgment, and prepared for trial in
       9
           hundreds of cases brought under both Title II and Title III of the ADA.
      10
      11
           Ms. Carson graduated cum laude in the top 10% of her class from

      12   California Western School of Law in 2011. While in law school Ms.

      13   Carson served as a writer and editor for California Western's two law
      14   reviews. Her article, "Lords of the Manor: Fighting California Slumlords
      15   with Private Multi-Plaintiff Implied Warranty of Habitability Litigation,"
      16   was accepted for publication by The Scholar, St. Mary's Law Review on
      17   Minority Issues.
      18          Attorney Chris Seabock is qualified to bill at $450 per hour. Mr.
      19
           Seabock graduated cum laude from California Western School of Law in
      20
           2011, where he focused on oral advocacy, competing in three national
      21
           mock trial competition and serving as President of the Moot Court
      22
           Honors Board. Mr. Seabock also interned twice with the Ventura County
      23
           District Attorney’s Office and spent a semester interning for Magistrate
      24
           Judge Peter C. Lewis in the Southern District of California.
      25
      26
                  Mr. Seabock joined Potter Handy in 2012 and litigated hundreds

      27   of disability access cases over the next three years, ultimately being

      28   assigned to conduct trials and being tasked with preparing every case the



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           PNAs for Fee Motion                                             2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 10 of 21 Page ID
                                  #:394



     1   firm brought to trial. In 2015, Mr. Seabock became a Deputy District
     2   Attorney in Butte County, where he quickly advanced to prosecuting
     3   felonies and tried approximately a dozen cases, including cases for first
     4
         degree burglary, maintaining a methamphetamine lab, and indecent
     5
         exposure. In 2019, Mr. Seabock returned to Potter Handy and quickly
     6
         picked up where he left off.
     7
                Attorney Elliott Montgomery is qualified to bill at $450 per hour.
     8
         Mr. Montgomery graduated from California Western School of Law in
     9
         2011. In law school, Mr. Montgomery received awards for academic
    10
    11
         excellence in both Constitutional Law and Trial Skills. He earned the title

    12   of “Distinguished Advocate” as a competitor on California Western’s

    13   mock trial team, and was awarded Best Advocate at an American
    14   Association for Justice Moot Court competition. Mr. Montgomery has
    15   worked for the Department of Justice as a Special Assistant United States
    16   Attorney in the Eastern District of California, and as a Professional
    17   Fiduciary for Central Valley Fiduciary Services. He has drafted
    18   complaints, conducted site inspections, litigated cases from the discovery
    19
         stage, including related motion practice and mediations, to case
    20
         resolution
    21
                Attorney Sara Gunderson is qualified to bill at $400 per hour. Ms.
    22
         Gunderson graduated from California Western School of Law in 2013,
    23
         after leaving a lucrative career in computational linguistics. At California
    24
         Western, she was a Trustee’s Scholar; was an executive to the Moot Court
    25
    26
         Honors Board; and acted as a teaching assistant in the international

    27   comparative law program, where she taught two weekly sections to

    28   foreign born, comparative law students. Ms. Gunderson co-founded the



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         PNAs for Fee Motion                                              2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 11 of 21 Page ID
                                  #:395



     1   Alternative Dispute Resolution club at CWSL, where she served on the
     2   executive committee as the fundraising chair. For the last two years, she
     3   has worked exclusively in championing disability civil rights. She has
     4
         drafted complaints, conducted site inspections, litigated cases from the
     5
         discovery stage, including related motion practice and mediations, to
     6
         case resolution.
     7
                Attorney Bradley Smith is qualified to bill at $400 per hour. Mr.
     8
         Smith graduated from the University of California Berkeley. He received
     9
         a Bachelor of Arts in Social Policy and Jurisprudence. He graduated from
    10
    11
         McGeorge School of Law in 2013. Mr. Smith was a solo-practitioner for

    12   three years, and he represented clients during family law litigation. He

    13   was a member of Amador County and El Dorado County’s Court-
    14   Appointed Juvenile Dependency Panel. He also represented children
    15   during international and interstate custody disputes. Most recently, Mr.
    16   Smith worked as staff counsel for California’s Department of Corrections
    17   and Rehabilitation. Mr. Smith joined Potter Handy in 2018.
    18          Plaintiff’s attorneys’ disability rights work has helped to shape ADA
    19   law with numerous, precedent setting opinions including, but not limited
    20   to the following published cases: Lozano v., C.A. Martinez Family Ltd.
    21   Partnership, 129 F.Supp.3d 967 (S.D. Cal. 2015); Fortyune v. City of
    22   Lomita, 766 F.3d 1098 (9th Cir. 2014); Cortez v. City of Porterville, 5
    23   F.Supp.3rd 1160 (E.D. Cal. 2014); Johnson v. Wayside Prop., Inc., 41
    24   F.Supp.3d 973 (E.D. Cal. 2014); Daubert v. Lindsay Unified School District,
    25   760 F.3d 982 (9th Cir. 2014); Munson v. Del Taco, Inc., 46 Cal.4th 66
    26   (2009); Nicholls v. Holiday Panay Marina, L.P., 93 Cal.Rptr.3d 309 (Cal.
    27   App. 4th 2009); Ortiz v. Accredited Home Lenders, Inc., 639 F. Supp. 2d
    28   1159 (S.D. Cal. 2009); Kittok v. Leslie's Poolmart, Inc., 687 F. Supp. 2d 953



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         PNAs for Fee Motion                                               2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 12 of 21 Page ID
                                  #:396



     1   (C.D. Cal. 2009); Deanda v. Sav. Inv., Inc., 267 F. App'x 675, 676 (9th Cir.
     2   2008); Miller v. California Speedway Corp. (9th Cir. 2008) 536 F.3d 1010;
     3   Munson v. Del Taco, Inc., 522 F.3d 997 (9th Cir. 2008); Grove v. De La
     4   Cruz, 407 F. Supp. 2d 1126 (C.D. Cal. 2005); Fortyune v. American Multi-
     5   Cinema, Inc., 364 F.3d 1075 (9th Cir. 2004); Pickern v. Holiday Quality
     6   Foods, Inc., 293 F.3d 1133 (9th Cir. 2002); Wyatt v. Ralphs Grocery Co.,
     7   65 Fed.Appx. 589 (9th Cir. 2003); Botosan v. Paul McNally Realty, 216
     8   F.3d 827 (9th Cir. 2000); Wyatt v. Liljenquist, 96 F. Supp. 2d 1062 (C.D.
     9   Cal. 2000).
    10          Rates awarded to the claiming attorneys in previous actions are
    11   good evidence of the appropriate market rate. See e.g. Margolin v. Regional
    12   Planning Comm’n, 134 Cal.App.3d 999, 1005 (1982) (where the court
    13   rejected defendants’ argument that rates awarded plaintiff’s counsel in
    14   prior litigation were not relevant, stating that court awards are “obviously
    15   relevant” and that the “most analogous evidence” would be fees sought
    16   and deemed reasonable by courts in other cases.”). Also, in United
    17   Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th Cir.
    18   1990), the court held, “rate determinations in other cases, particularly
    19   those setting a rate for the plaintiffs' attorney, are satisfactory evidence of
    20   the prevailing market rate.”). In Hansen v. Deercreek Plaza, LLC, 420
    21   F.Supp.2d 1346, 1350 (S.D.Fla 2006), the court held that previous fee
    22   rulings for the fee applicant for comparable cases is “satisfactory
    23   evidence” in an ADA case.
    24          Nearly a decade ago, in March 2011, United States District Judge
    25   Stephen Wilson considered plaintiff’s counsel’s qualifications, expert
    26   opinions and other evidence and granted plaintiff’s counsels then
    27   requested rates. (Exhibit 3). Fee awards continued to grant this hourly
    28   rate and in response to rising costs, have awarded higher rates as well,



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         PNAs for Fee Motion                                                 2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 13 of 21 Page ID
                                  #:397



     1   including the rates sought in this motion. See Exhibits 4, 5 and 6 (Fee
     2   Awards by Judge Bernal, Fischer, Snyder); Love v. Rivendell, 3:18-cv-
     3   03907-EDL (March 11, 2019, N.D Ca.); (awarding rates to present
     4   counsel between $410-$650/hr). (Exhibit 7 – Laporte Award); Lindsay v.
     5   Grupo Glemka, 2:18-CV-05136-MRW (July 19, 2019, C.D Ca.)
     6   (awarding rates to present counsel between $400-$595/hr) (Exhibit 8 –
     7   Wilner Order)
     8          As litigation costs and costs of living have increased since 2011,
     9   Plaintiff seeks adjusted rates in line with current approved rates and
    10   increased experience. Rodriguez v. Barrita, Inc. (2014) 53 F.Supp.3d
    11   1268 (“acknowledging appropriately increased rates to $550/hr as
    12   reasonable”). These requested rates are in line with rates being awarded
    13   in the prevailing community. See: Keaton v. Los Angeles Unified School
    14   District (March 19, 2019) Case BS165965 (awarding $550 per hour, for
    15   a total of over $98,000 in public interest litigation)(Exhibit 9 – Strobel
    16   Order); Woods v. Fagan CV-14-8374 VAP (SPx) (civil rights litigation
    17   awarding rates between of $550 and $750 for experienced counsel)
    18   (approved on appeal Woods v. Fagan (9th Cir. 2018) 714 Fed. Appx. 814)
    19   (Exhibit 10– Philips Order)
    20          Not only are plaintiff’s counsel’s rates fully consistent within their
    21   market but they should expect to receive full compensation. The rates
    22   requested herein have been approved by this district and are in line with
    23   market rates. (Exhibit 8 – Wilner Order) Both state and federal law
    24   advocates for full and substantial compensation for disability civil rights
    25   attorneys:
    26
                Per statutory provisions by the United States Congress and
    27
                the California Legislature to ensure that there are attorneys
    28



                                               9
         PNAs for Fee Motion                                               2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 14 of 21 Page ID
                                  #:398



     1           willing to perform the important function of securing the
     2           rights of disabled persons to “full participation in the social
     3
                 and economic life of the state” and to “full and equal
     4
                 access,” it is necessary to provide substantial compensation
     5
     6
                 for this work. Encouraging competent attorneys to handle

     7           ADA Title III cases is necessary for effective enforcement:
     8           former California Attorney General Dan Lungren, in a 1993
     9
                 Opinion, held that California building officials could not
    10
                 independently enforce the ADA, and that enforcement was
    11
    12           left primarily to private lawsuits.

    13
         Blackwell v. Foley, 724 F. Supp. 2d 1068, 1075 (N.D. Cal. 2010). “Indeed,
    14
         were it not for the efforts of those attorneys willing to undertake the
    15
         representation of ADA plaintiffs, there would be little, if any,
    16
         enforcement of this landmark statute.” Hansen v. Deercreek Plaza, LLC,
    17
         420 F.Supp.2d 1346, 1349 (S.D.Fla. 2006).
    18
                 Based on the evidence of market rate and the public interest in
    19
         encouraging the private bar in enforcing the ADA, plaintiff’s counsels’
    20
         rates should be approved by this court.
    21
    22
    23      B.       Hours Reasonably Expended
                 As the first step in the calculation of an equitable award, the Court
    24
         should determine the number of hours reasonably expended in this
    25
         litigation: The starting point of every fee award, once it is recognized that
    26
         the court’s role in equity is to provide just compensation for the attorneys,
    27
         must be a calculation of the attorneys’ services in terms of the time he has
    28



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         PNAs for Fee Motion                                                2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 15 of 21 Page ID
                                  #:399



     1   expended on the case. Anchoring the analysis to this concept is the only
     2   approach that can claim objectivity, a claim which is ‘obviously vital’ to
     3   the prestige of the bar and the courts.” Serrano v. Priest, 20 Cal.3d 25, 49
     4   (1977), citing Lindy Bros. Builders, Inc. of Phila. v. American Radiator, 487
     5   F.2d 161 (3rd Cir 1973).
     6          Furthermore, only hours found to have been reasonably expended
     7   may be allowed. Plaintiff is not entitled to an award of attorney’s fees for
     8   hours which were duplicative, unproductive, excessive or otherwise
     9   unnecessary. Hensley, 461 U.S. at 434. A fee applicant must exercise
    10   “billing judgment” in the preparation of the attorney’s fee application;
    11   ‘[h]ours not properly billed to one’s client are not properly billed to one’s
    12   adversary pursuant to statutory authority”. Copeland v. Marshall, 641 F.2d
    13   880, 891 (1980) (en banc) (emphasis in original), quoted in Hensley, 461
    14   U.S. at 484. A fair award is the product of reasonable hours and
    15   reasonable rates and represents an objective basis for an initial
    16   determination of attorney’s fees.
    17          The case has not seen a tremendous amount of work. Nonetheless,
    18   the case reasonably and necessarily involved pre-filing investigation,
    19   complaint drafting, emails, letters, phone conversations, court filings, this
    20   motion and the other trappings of a litigated case in with a Plaintiff could
    21   prevail.
    22          Plaintiff’s attorneys have expended more than 41 hours to date and
    23   estimates another 8 hours for dealing with an opposition brief, drafting
    24   the reply, and attendance at oral argument. As is clear from the billing
    25   statement (exhibit 2), there has been no overbilling in this case and
    26   Plaintiff has attempted to specialize all hours spent to reduce the total
    27   number of hours involved in the matter. All of the hours submitted to the
    28



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         PNAs for Fee Motion                                               2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 16 of 21 Page ID
                                  #:400



     1   court in the accompanying declaration of Mark Potter and the attached
     2   billing were reasonably incurred in the prosecution of this case.
     3
     4                          III. HENSLEY FACTORS
     5           In Hensley v. Eckerhart, (1983) 461 U.S. 424, the Supreme Court
     6   stated that the lodestar is the “presumptively reasonable fee amount” and
     7   that the Court can adjust upward or downward by a multiplier in “rare” or
     8   “exceptional” cases only. Id. at 433; Van Gerwen v. Guarantee Mutual Life,
     9   214 F.3d 1041, 1045 (9th Cir. 2000); see also Welch, 480 F.3d at 946.
    10   Additionally, the Hensley court outlined twelve factors that a Court may
    11   consider when determining the appropriate fee award or any departure
    12   from it. Many of the factors are already subsumed into the lodestar
    13   discussion but plaintiff will briefly discuss each factor. Plaintiff seeks no
    14   modification of the lodestar.
    15
    16      A.        Time and Labor Required
    17           As stated above, the plaintiff showed billing judgment and
    18   restraint.    The case was not over litigated and plaintiff’s counsel
    19   expended less than two full work weeks. The plaintiff seeks no multiplier
    20   as the time expended will be compensated by the lodestar.
    21
    22      B.        Novelty and Difficulty of Issues
    23           The Americans with Disabilities Act itself and its interaction with
    24   California State Law is ever evolving and involves new issues and new
    25   challenges on a constant basis. Aside from the fairly novel area of
    26   Americans with Disabilities Act work in general, this case presented no
    27   significant legal issues of first impression and plaintiff seeks no multiplier
    28   based on this issue.



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         PNAs for Fee Motion                                                 2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 17 of 21 Page ID
                                  #:401



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     2      C.       Skill Required to Perform Legal Service
     3           The Americans with Disabilities Act was passed in 1990 and the
     4   Unruh Civil Rights Act was amended in 1992 to incorporate the ADA.
     5   There are only a handful of attorneys with expertise in the area. Access
     6   under Title III of the Americans with Disabilities Act is predicated upon
     7   requirements to provide access to existing public accommodations, new
     8   construction and alterations to existing buildings. Those requirements in
     9   existing public accommodations turn on whether the removal of
    10   architectural barriers is "readily achievable." In turn, there is a plethora
    11   of federal regulations, Department of Justice advisory opinions,
    12   interpretive manuals and case law that is argued by both plaintiffs and
    13   defendants as to what constitutes architectural barriers and the extent of
    14   the remedial measures necessary, if any, to remove the architectural
    15   barrier. Furthermore, there is the overlaying application of Title 24 of the
    16   California Code of Regulations requirements to public accommodations
    17   which were constructed or altered after 1982, and the American National
    18   Standards Institute (ANSI) between 1970 and 1982.
    19           A successful prosecution of disability access cases is dependent
    20   upon a plaintiff's attorney having a thorough knowledge of the ADA and
    21   all its implementing regulations, Americans With Disabilities Act
    22   Accessibility Guidelines, Title 24 of the California Code of Regulations,
    23   ANSI standards, and the relevant sections for the California Health and
    24   Safety Code, the California Civil Code, and the California Government
    25   Code. In addition, an intimacy with the body of case law which has
    26   developed around the ADA (among which over two dozen published
    27   decisions were handled by plaintiff's counsel's office) and state statutory
    28   schemes, and the ability to couple this knowledge with a practical,



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         PNAs for Fee Motion                                              2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 18 of 21 Page ID
                                  #:402



     1   strategic approach to interfacing with defendants, their own personal
     2   counsel, insurance defense attorneys, insurance carriers and the Court is
     3   absolutely essential.
     4           In short, handling disability access cases demand the services of an
     5   attorney trained and specializing in the area of law. This case did not
     6   present specialized or skillful challenges and was a fairly straight-forward
     7   application of the law.
     8
     9      D.       Preclusion of Other Work
    10           Plaintiff’s attorneys have spent more than 41 hours in prosecuting
    11   this case. That time could not be used, simultaneously, for other cases or
    12   other clients. Thus, the work on this case precluded other work that could
    13   have and would have been done and billed for. Nonetheless, the lodestar
    14   fully compensates for that work.
    15
    16      E.       Customary Fee
    17           As covered above, the rates and fees charged by plaintiff’s counsel
    18   are market rates.
    19
    20      F.       Fixed or Contingent Fee
    21           As is the case with virtually all civil rights cases, the fees in this
    22   case were contingent upon prevailing. Had the plaintiff not prevailed, the
    23   plaintiff’s attorneys would not be able to recover monies to compensate
    24   them for the outlay of time spent in prosecuting this case. Nonetheless,
    25   plaintiff’s counsel is not seeking a multiplier.
    26
    27
    28



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         PNAs for Fee Motion                                                2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 19 of 21 Page ID
                                  #:403


             G.      Time Limitations
     1
                  There were no unique time limitations imposed by either the client
     2
         or the circumstances.
     3
     4       H.      Amount Involved and Results Obtained
     5            Under the Americans with Disabilities Act, there are no damages
     6   available. The only remedy is injunctive relief and attorney’s fees and
     7   costs. Here, Plaintiff has prevailed in full on his ADA claim1 and is
     8   entitled to full recovery.
     9
    10       I.      Experience and Ability of Attorneys
    11            See discussion under “Hourly Rates” above.
    12
    13       J.      Undesirability of the Case
    14            This case, like many small dollar civil rights cases, is low on the
    15   desirability scale. The clientele is largely (as in the present case) very low
    16   income or indigent. Payment is completely dependent upon winning. It is
    17   usually big business and insurance companies on the other side.
    18
    19       K.      Nature and Length of Professional Relationship with
                     Client
    20
                  The Center for Disability Access has no relationship with Mr.
    21
         Arroyo other than in representing him in his ADA/Unruh claims.
    22
    23
             L.      Awards in Similar Cases.
    24
                  This matter is discussed above.
    25
    26
    27   1
           The court declined to enter judgment under the Unruh Civil Rights Act Claims
    28   and dismissed. The work done on this matter has 100% overlap with the state
         claims and cannot be separated.


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         PNAs for Fee Motion                                                2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 20 of 21 Page ID
                                  #:404



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     2                         IV. LITIGATION COSTS
     3          The plaintiff seeks $825.00 in costs. The plaintiff includes
     4   traditional costs such as the service cost ($25) and the filing fee ($400) as
     5   well as the litigation expenses that includes the two investigations ($400).
     6   Section 505 of the Americans with Disabilities Act (42 U.S.C. § 12205)
     7   authorizes reasonable attorney's fees, including "litigation expenses and
     8   costs," in any action brought under the Act. This includes all costs
     9   normally associated with litigation including investigative costs:
    10
    11          According to committee reports, Congress included the term
    12          “litigation expenses” in order to authorize a court to shift
    13
                costs such as expert witness fees, travel expenses, and the
    14
                preparation of exhibits. See H.R. Rpt. No. 101-485(III) at
    15
    16
                73, reprinted in 1990 U.S.C.C.A.N. 445, 496 (Report of the

    17          Committee on the Judiciary) (“Litigation expenses include
    18          the costs of expert witnesses. This provision explicitly
    19
                incorporates the phrase ‘including litigation expenses' to
    20
                respond to rulings of the Supreme Court that items such as
    21
    22          expert witness fees, travel expenses, etc., be explicitly

    23          included if intended to be covered under an attorney's fee
    24          provision.”); H.R. Rpt. No. 101-485(II) at 140, reprinted in
    25
                1990 U.S.C.C.A.N. 303, 423 (Report of the Committee on
    26
                Education and Labor) (“Litigation expenses include the
    27
    28          costs of experts and the preparation of exhibits.”).



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         PNAs for Fee Motion                                               2:18-CV-06338-PSG-GJS
Case 2:18-cv-06338-PSG-GJS Document 47-1 Filed 09/06/19 Page 21 of 21 Page ID
                                  #:405



     1   Lovell v. Chandler, 303 F.3d 1039, 1058 (9th Cir. 2002). “The federal
     2   statute, unlike the state statutes, explicitly provides for not only attorney's
     3   fees but also litigation expenses and costs.” Saldana-Neily v. Taco Bell of
     4   Am., Inc., 2008 WL 793872, *3 (N.D. Cal. 2008).
     5
     6                             V. CONCLUSION
     7          The plaintiff respectfully requests that his motion be granted and
     8   he be awarded $22,702.00.
     9
    10
    11
    12   Dated: September 6, 2019          CENTER FOR DISABILITY ACCESS
    13
                                           By: _____/s/ Dennis Price_________
    14
                                           Dennis Price, Esq.
    15                                     Attorneys for Plaintiff
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         PNAs for Fee Motion                                                 2:18-CV-06338-PSG-GJS
